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 Fill in this information to identify your case:
 United States Bankruptcy Court for the:
 DISTRICT OF MINNESOTA

 Case number (if known):                                      Chapter you are filing under:
                                                                        Chapter 7
                                                                        Chapter 11
                                                                        Chapter 12
                                                                                                                           Check if this is an
                                                                        Chapter 13
                                                                                                                           amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                         02/20

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case
together--called a joint case--and in joint cases, these forms use you to ask for information from both debtors. For example, if
a form asks, "Do you own a car," the answer would be yes if either debtor owns a car. When information is needed about the
spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the spouses
must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.



 Part 1:       Identify Yourself
                                       About Debtor 1:                                        About Debtor 2 (Spouse Only in a Joint Case):
1.   Your full name
     Write the name that is on your
                                       Cody
     government-issued picture
                                       First Name                                             First Name
     identification (for example,
     your driver's license or          James
     passport).                        Middle Name                                            Middle Name

                                       Beam
     Bring your picture                Last Name                                              Last Name
     identification to your meeting
     with the trustee.                 Suffix (Sr., Jr., II, III)                             Suffix (Sr., Jr., II, III)


2.   All other names you
     have used in the last 8           First Name                                             First Name
     years
                                       Middle Name                                            Middle Name
     Include your married or
     maiden names.
                                       Last Name                                              Last Name


3.   Only the last 4 digits of
     your Social Security              xxx – xx –                   7        3       5    9   xxx – xx –
     number or federal                 OR                                                     OR
     Individual Taxpayer
     Identification number             9xx – xx –                                             9xx – xx –
     (ITIN)




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Debtor 1     Cody James Beam                                                              Case number (if known)

                                  About Debtor 1:                                             About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names                  I have not used any business names or EINs.                 I have not used any business names or EINs.
     and Employer
     Identification Numbers       Tier One Performance LLC
     (EIN) you have used in       Business name                                               Business name
     the last 8 years             Tier 1 Performance LLC
                                  Business name                                               Business name
     Include trade names and
     doing business as names      Tier 1 Lawn Care LLC
                                  Business name                                               Business name

                                  Tier One Lawn Care LLC
                                  Business name                                               Business name

                                  Beam Enterprises, LLC
                                  Business name                                               Business name

                                  Cody Beam LLC
                                  Business name                                               Business name

                                              –                                                           –
                                  EIN                                                         EIN

                                              –                                                           –
                                  EIN                                                         EIN
5.   Where you live                                                                           If Debtor 2 lives at a different address:

                                  2241 Pierce St NE, Unit 1
                                  Number      Street                                          Number      Street




                                  Minneapolis                    MN       55418
                                  City                           State    ZIP Code            City                           State    ZIP Code

                                  Hennepin
                                  County                                                      County

                                  If your mailing address is different from                   If Debtor 2's mailing address is different
                                  the one above, fill it in here. Note that the               from yours, fill it in here. Note that the court
                                  court will send any notices to you at this                  will send any notices to you at this mailing
                                  mailing address.                                            address.



                                  Number      Street                                          Number      Street


                                  P.O. Box                                                    P.O. Box


                                  City                           State    ZIP Code            City                           State    ZIP Code


6.   Why you are choosing         Check one:                                                  Check one:
     this district to file for
     bankruptcy                          Over the last 180 days before filing this                   Over the last 180 days before filing this
                                         petition, I have lived in this district longer              petition, I have lived in this district longer
                                         than in any other district.                                 than in any other district.

                                         I have another reason. Explain.                             I have another reason. Explain.
                                         (See 28 U.S.C. § 1408.)                                     (See 28 U.S.C. § 1408.)




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Debtor 1     Cody James Beam                                                       Case number (if known)


 Part 2:      Tell the Court About Your Bankruptcy Case

7.   The chapter of the         Check one: (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
     Bankruptcy Code you        for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     are choosing to file
     under                           Chapter 7

                                     Chapter 11

                                     Chapter 12

                                     Chapter 13

8.   How you will pay the fee        I will pay the entire fee when I file my petition. Please check with the clerk's office in your local
                                     court for more details about how you may pay. Typically, if you are paying the fee yourself, you may
                                     pay with cash, cashier's check, or money order. If your attorney is submitting your payment on your
                                     behalf, your attorney may pay with a credit card or check with a pre-printed address.

                                     I need to pay the fee in installments. If you choose this option, sign and attach the Application for
                                     Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                     I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                     By law, a judge may, but is not required to, waive your fee, and may do so only if your income is less
                                     than 150% of the official poverty line that applies to your family size and you are unable to pay the
                                     fee in installments). If you choose this option, you must fill out the Application to Have the Chapter 7
                                     Filing Fee Waived (Official Form 103B) and file it with your petition.


9.   Have you filed for              No
     bankruptcy within the
     last 8 years?                   Yes.

                                District                                               When                    Case number
                                                                                              MM / DD / YYYY

                                District                                               When                    Case number
                                                                                              MM / DD / YYYY
                                District                                               When                    Case number
                                                                                              MM / DD / YYYY

10. Are any bankruptcy               No
    cases pending or being
    filed by a spouse who is         Yes.
    not filing this case with
                                Debtor                                                             Relationship to you
    you, or by a business
    partner, or by an           District                                               When                    Case number,
    affiliate?                                                                                MM / DD / YYYY   if known


                                Debtor                                                             Relationship to you

                                District                                               When                    Case number,
                                                                                              MM / DD / YYYY   if known

11. Do you rent your                 No.    Go to line 12.
    residence?                       Yes. Has your landlord obtained an eviction judgment against you?

                                                  No. Go to line 12.
                                                  Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A)
                                                  and file it as part of this bankruptcy petition.




Official Form 101                     Voluntary Petition for Individuals Filing for Bankruptcy                                          page 3
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Debtor 1     Cody James Beam                                                           Case number (if known)


 Part 3:      Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor             No. Go to Part 4.
    of any full- or part-time             Yes. Name and location of business
    business?

    A sole proprietorship is a
                                                Name of business, if any
    business you operate as an
    individual, and is not a
    separate legal entity such as               Number     Street
    a corporation, partnership, or
    LLC.

    If you have more than one                   City                                                    State          ZIP Code
    sole proprietorship, use a
    separate sheet and attach it                Check the appropriate box to describe your business:
    to this petition.
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under             If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
    Chapter 11 of the                can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
    Bankruptcy Code and              most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return
    are you a small business         or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    debtor?
                                          No.   I am not filing under Chapter 11.

                                          No.   I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
    For a definition of small
                                                the Bankruptcy Code.
    business debtor, see
    11 U.S.C. § 101(51D).                 Yes. I am filing under Chapter 11, I am a small business debtor according to the definition in the
                                               Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                          Yes. I am filing under Chapter 11, I am a small business debtor according to the definition in the
                                               Bankruptcy Code, and I choose to proceed under Subchapter V of Chapter 11.

 Part 4:      Report If You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any                No
    property that poses or is             Yes. What is the hazard?
    alleged to pose a threat of
    imminent and identifiable
    hazard to public health or
    safety? Or do you own
    any property that needs                     If immediate attention is needed, why is it needed?
    immediate attention?

    For example, do you own
    perishable goods, or
    livestock that must be fed, or              Where is the property?
    a building that needs urgent                                           Number   Street
    repairs?



                                                                           City                                     State         ZIP Code




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Debtor 1     Cody James Beam                                                             Case number (if known)


 Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling
15. Tell the court          About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
    whether you             You must check one:                                          You must check one:
    have received a           I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about            counseling agency within the 180 days before I               counseling agency within the 180 days before I
    credit                    filed this bankruptcy petition, and I received a             filed this bankruptcy petition, and I received a
    counseling.               certificate of completion.                                   certificate of completion.
                               Attach a copy of the certificate and the payment             Attach a copy of the certificate and the payment
    The law requires           plan, if any, that you developed with the agency.            plan, if any, that you developed with the agency.
    that you receive a
                               I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about credit
                               counseling agency within the 180 days before I               counseling agency within the 180 days before I
    counseling before
                               filed this bankruptcy petition, but I do not have            filed this bankruptcy petition, but I do not have
    you file for
                               a certificate of completion.                                 a certificate of completion.
    bankruptcy. You
    must truthfully            Within 14 days after you file this bankruptcy petition,      Within 14 days after you file this bankruptcy petition,
    check one of the           you MUST file a copy of the certificate and payment          you MUST file a copy of the certificate and payment
    following choices.         plan, if any.                                                plan, if any.
    If you cannot do so,       I certify that I asked for credit counseling                 I certify that I asked for credit counseling
    you are not eligible       services from an approved agency, but was                    services from an approved agency, but was
    to file.                   unable to obtain those services during the 7                 unable to obtain those services during the 7
                               days after I made my request, and exigent                    days after I made my request, and exigent
    If you file anyway,        circumstances merit a 30-day temporary                       circumstances merit a 30-day temporary
    the court can              waiver of the requirement.                                   waiver of the requirement.
    dismiss your case,
    you will lose              To ask for a 30-day temporary waiver of the                  To ask for a 30-day temporary waiver of the
    whatever filing fee        requirement, attach a separate sheet explaining what         requirement, attach a separate sheet explaining what
    you paid, and your         efforts you made to obtain the briefing, why you             efforts you made to obtain the briefing, why you
    creditors can begin        were unable to obtain it before you filed for                were unable to obtain it before you filed for
    collection activities      bankruptcy, and what exigent circumstances                   bankruptcy, and what exigent circumstances
    again.                     required you to file this case.                              required you to file this case.

                               Your case may be dismissed if the court is                   Your case may be dismissed if the court is
                               dissatisfied with your reasons for not receiving a           dissatisfied with your reasons for not receiving a
                               briefing before you filed for bankruptcy.                    briefing before you filed for bankruptcy.

                               If the court is satisfied with your reasons, you must        If the court is satisfied with your reasons, you must
                               still receive a briefing within 30 days after you file.      still receive a briefing within 30 days after you file.
                               You must file a certificate from the approved agency,        You must file a certificate from the approved agency,
                               along with a copy of the payment plan you                    along with a copy of the payment plan you
                               developed, if any. If you do not do so, your case            developed, if any. If you do not do so, your case
                               may be dismissed.                                            may be dismissed.

                               Any extension of the 30-day deadline is granted only         Any extension of the 30-day deadline is granted only
                               for cause and is limited to a maximum of 15 days.            for cause and is limited to a maximum of 15 days.

                               I am not required to receive a briefing about                I am not required to receive a briefing about
                               credit counseling because of:                                credit counseling because of:
                                   Incapacity.    I have a mental illness or a mental           Incapacity.    I have a mental illness or a mental
                                                  deficiency that makes me                                     deficiency that makes me
                                                  incapable of realizing or making                             incapable of realizing or making
                                                  rational decisions about finances.                           rational decisions about finances.
                                   Disability.    My physical disability causes me              Disability.    My physical disability causes me
                                                  to be unable to participate in a                             to be unable to participate in a
                                                  briefing in person, by phone, or                             briefing in person, by phone, or
                                                  through the internet, even after I                           through the internet, even after I
                                                  reasonably tried to do so.                                   reasonably tried to do so.
                                   Active duty. I am currently on active military               Active duty. I am currently on active military
                                                duty in a military combat zone.                              duty in a military combat zone.
                               If you believe you are not required to receive a             If you believe you are not required to receive a
                               briefing about credit counseling, you must file a            briefing about credit counseling, you must file a
                               motion for waiver of credit counseling with the court.       motion for waiver of credit counseling with the court.


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Debtor 1     Cody James Beam                                                           Case number (if known)


 Part 6:      Answer These Questions for Reporting Purposes
16. What kind of debts do you      16a.    Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
    have?                                  as "incurred by an individual primarily for a personal, family, or household purpose."
                                                 No. Go to line 16b.
                                                 Yes. Go to line 17.

                                   16b.    Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                                No. Go to line 16c.
                                                Yes. Go to line 17.

                                   16c.    State the type of debts you owe that are not consumer or business debts.


17. Are you filing under
    Chapter 7?                            No.   I am not filing under Chapter 7. Go to line 18.

    Do you estimate that after            Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is                     administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and
    administrative expenses                          No
    are paid that funds will be
                                                     Yes
    available for distribution
    to unsecured creditors?

18. How many creditors do                 1-49                             1,000-5,000                        25,001-50,000
    you estimate that you                 50-99                            5,001-10,000                       50,001-100,000
    owe?                                  100-199                          10,001-25,000                      More than 100,000
                                          200-999

19. How much do you                       $0-$50,000                       $1,000,001-$10 million             $500,000,001-$1 billion
    estimate your assets to               $50,001-$100,000                 $10,000,001-$50 million            $1,000,000,001-$10 billion
    be worth?                             $100,001-$500,000                $50,000,001-$100 million           $10,000,000,001-$50 billion
                                          $500,001-$1 million              $100,000,001-$500 million          More than $50 billion

20. How much do you                       $0-$50,000                       $1,000,001-$10 million             $500,000,001-$1 billion
    estimate your liabilities to          $50,001-$100,000                 $10,000,001-$50 million            $1,000,000,001-$10 billion
    be?                                   $100,001-$500,000                $50,000,001-$100 million           $10,000,000,001-$50 billion
                                          $500,001-$1 million              $100,000,001-$500 million          More than $50 billion




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Debtor 1     Cody James Beam                                                        Case number (if known)


 Part 7:      Sign Below
For you                        I have examined this petition, and I declare under penalty of perjury that the information provided is true
                               and correct.

                               If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11, 12,
                               or 13 of title 11, United States Code. I understand the relief available under each chapter, and I choose to
                               proceed under Chapter 7.

                               If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me
                               fill out this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                               I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                               I understand making a false statement, concealing property, or obtaining money or property by fraud in
                               connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
                               or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


                               X /s/ Cody James Beam                                       X
                                  Cody James Beam, Debtor 1                                    Signature of Debtor 2

                                  Executed on 03/27/2020                                       Executed on
                                              MM / DD / YYYY                                                 MM / DD / YYYY




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Debtor 1     Cody James Beam                                                        Case number (if known)

For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about
represented by one              eligibility to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the
                                relief available under each chapter for which the person is eligible. I also certify that I have delivered to
If you are not represented by   the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies,
an attorney, you do not need    certify that I have no knowledge after an inquiry that the information in the schedules filed with the petition
to file this page.              is incorrect.



                                X /s/ Andrew C. Walker                                                Date 03/27/2020
                                   Signature of Attorney for Debtor                                        MM / DD / YYYY


                                   Andrew C. Walker
                                   Printed name
                                   Law Offices of Curtis K. Walker
                                   Firm Name
                                   4356 Nicollet Ave So
                                   Number          Street




                                   Minneapolis                                                MN              55409
                                   City                                                       State           ZIP Code


                                   Contact phone (612) 824-4357                     Email address


                                   0392525
                                   Bar number                                                 State




Official Form 101                     Voluntary Petition for Individuals Filing for Bankruptcy                                            page 8
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 Fill in this information to identify your case and this filing:
 Debtor 1             Cody                     James                    Beam
                      First Name               Middle Name              Last Name

 Debtor 2
 (Spouse, if filing) First Name                Middle Name              Last Name


 United States Bankruptcy Court for the: DISTRICT OF MINNESOTA

 Case number
                                                                                                                                  Check if this is an
 (if known)
                                                                                                                                  amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                      12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.   Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
          No. Go to Part 2.
          Yes. Where is the property?

2.   Add the dollar value of the portion you own for all of your entries from Part 1, including any
     entries for pages you have attached for Part 1. Write that number here.............................................................                   $0.00


 Part 2:        Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.   Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

         No
         Yes

4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
         No
         Yes

5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any
     entries for pages you have attached for Part 2. Write that number here.............................................................                   $0.00


 Part 3:        Describe Your Personal and Household Items
                                                                                                                                           Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                           portion you own?
                                                                                                                                           Do not deduct secured
                                                                                                                                           claims or exemptions.

6.   Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware
         No
         Yes. Describe............
                             Usual household good and furnishings                                                                                       $1,000.00




Official Form 106A/B                                                 Schedule A/B: Property                                                                 page 1
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Debtor 1         Cody James Beam                                                                                     Case number (if known)

7.    Electronics
      Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                 music collections; electronic devices including cell phones, cameras, media players, games
            No
            Yes. Describe............
                                iPhone 10 $200                                                                                                                           $350.00
                                     iPad $100
                                     Apple watch $50

8.    Collectibles of value
      Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                 stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
            No
            Yes. Describe............


9.    Equipment for sports and hobbies
      Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
                canoes and kayaks; carpentry tools; musical instruments
            No
            Yes. Describe............
                                See continuation page(s).                                                                                                               $5,085.00


10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
            No
            Yes. Describe............


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
            No
            Yes. Describe............
                                Usual wearing apparel                                                                                                                    $500.00


12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver
            No
            Yes. Describe............
                                Wedding band                                                                                                                             $350.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
            No
            Yes. Describe............
                                1 pet dog                                                                                                                                  $1.00


14. Any other personal and household items you did not already list, including any health aids you
    did not list
            No
            Yes. Give specific
            information......................


15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
    attached for Part 3. Write the number here.......................................................................................................................   $7,286.00




Official Form 106A/B                                                            Schedule A/B: Property                                                                      page 2
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Debtor 1         Cody James Beam                                                                                                   Case number (if known)


 Part 4:            Describe Your Financial Assets
                                                                                                                                                                                      Current value of the
Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                                                                      portion you own?
                                                                                                                                                                                      Do not deduct secured
                                                                                                                                                                                      claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
              petition
           No
                                                                                                                                                                                                                  $680.00
           Yes.....................................................................................................................................................................................................
                                                                                                                                                    Cash: ...........................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
              brokerage houses, and other similar institutions. If you have multiple accounts with the same
              institution, list each.

           No
           Yes..............................                   Institution name:

            17.1.       Checking account:                      Wells Fargo checking account ending in                                                                                                          $0.99
18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
           No
           Yes.............................. Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture
           No
           Yes. Give specific
           information about
           them...............................................
                                              Name of entity:                                                                                          % of ownership:




Official Form 106A/B                                                                     Schedule A/B: Property                                                                                                  page 3
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Debtor 1    Cody James Beam                                               Case number (if known)

                         Tier One Performance LLC - ceased operation

                         Assets=
                         Accounts Receivable= N/A
                         Inventory= N/A
                         Equipment=
                          (2) Squat rack rigs $900 ea.
                          (6) Squat racks $250 ea.
                          (2) Functional trainers $500 ea.
                          (6) GHD $130 ea.
                          (7) Benches $50 ea.
                          (18) Trap bars $25 ea.
                          (20) 45lb barbells $25 ea.
                          (4) 15lb barbells $25 ea.
                          (12) Landmine units $20 ea.
                          (10) Dumbbell racks $25 ea.
                          (11,050) Dumbbells $0.20 ea.
                          (12) TRX units $10 ea.
                          (8) Battle ropes $20 ea.
                          (8) Sleds $25 ea.
                          (7) Plate tree storage $45 ea.
                          (6,875) Olympic plates $0.10 ea.
                          (2,000) Bumper plates $0.25 ea.
                          Gym flooring $1,500
                          Speed timer system $500
                          (2) Radar guns $130 ea.
                          (2) Vertical jump mats $150 ea.
                          Mac Book 13.3" $700
                          (6) 55" TVs $75 ea.

                         Total Assets = $14,872.50

                         Liabilities=
                         American Equity Bank (secured loan) $90,000
                         Centennial Utilities $288.29
                         Comcast $235.30
                         Metro 94 Business Center $130,000 lease liability
                         West Bend Mutual Insurance Co $2,784.72
                         Spencer Fane LLP $11,914
                         Sentry Real Estate $75,000 lease liability
                         PayPal Business Loan $10,500
                         Xcel Energy $1,369.99
                         Upper Hand and other service agreements (potential
                         liability for breaking contracts)
                         Tyler Lewnau & West Bend Insurance (potential injury
                         lawsuit)

                         Total Liabilities = $322,092.30

                         Total Net Worth= $0                                               100%                $0.00




Official Form 106A/B                             Schedule A/B: Property                                        page 4
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Debtor 1         Cody James Beam                                                                   Case number (if known)

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
           No
           Yes. Give specific
           information about
           them...............................................
                                              Issuer name:
21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
              profit-sharing plans
           No
           Yes. List each
           account separately.             Type of account:         Institution name:
22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

           No
           Yes..............................                     Institution name or individual:
                          Security deposit on rental unit: Security deposit on rental unit                                                        $1,500.00
23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............................. Issuer name and description:
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes.............................. Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit
           No
           Yes. Give specific
           information about them

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
           No
           Yes. Give specific
           information about them

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
           No
           Yes. Give specific
           information about them




Official Form 106A/B                                                      Schedule A/B: Property                                                      page 5
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Debtor 1        Cody James Beam                                                             Case number (if known)

Money or property owed to you?                                                                                                  Current value of the
                                                                                                                                portion you own?
                                                                                                                                Do not deduct secured
                                                                                                                                claims or exemptions.

28. Tax refunds owed to you

           No
           Yes. Give specific information Federal: Debtor does not anticipate 2019 or 2020 income                    Federal:                  $0.00
           about them, including whether tax refunds as Debtor is self-employed and usually owes.
           you already filed the returns                                                                             State:                    $0.00
                                                    Amt: $0.00
           and the tax years.....................................
                                                                                                                     Local:                    $0.00
                                                  State: Estimated prorated portion of 2019 MN renter's
                                                  refund. Amt: $0.00

29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
           No
           Yes. Give specific information                                                                 Alimony:

                                                                                                          Maintenance:

                                                                                                          Support:

                                                                                                          Divorce settlement:

                                                                                                          Property settlement:

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
              compensation, Social Security benefits; unpaid loans you made to someone else
           No
           Yes. Give specific information


31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
           No
           Yes. Name the insurance
           company of each policy
           and list its value................   Company name:                            Beneficiary:                     Surrender or refund value:
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died
           No
           Yes. Give specific information


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
           No
           Yes. Describe each claim..............


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims
           No
           Yes. Describe each claim..............




Official Form 106A/B                                              Schedule A/B: Property                                                        page 6
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Debtor 1         Cody James Beam                                                                                     Case number (if known)

35. Any financial assets you did not already list

            No
            Yes. Give specific information


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
    attached for Part 4. Write that number here.......................................................................................................................     $2,180.99


  Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

            No. Go to Part 6.
            Yes. Go to line 38.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
38. Accounts receivable or commissions you already earned

            No
            Yes. Describe................
                              No current accounts receivable for personal training through LLC or as sole                                                                       $0.00
                                   proprietor

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
               desks, chairs, electronic devices
            No
            Yes. Describe................


40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

            No
            Yes. Describe................


41. Inventory

            No
            Yes. Describe................


42. Interests in partnerships or joint ventures

            No
            Yes. Describe................
                                Name of entity:                                                                                       % of ownership:

43. Customer lists, mailing lists, or other compilations

            No
            Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                    No
                    Yes. Describe..............




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 7
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Debtor 1          Cody James Beam                                                                                    Case number (if known)

44. Any business-related property you did not already list

            No
            Yes. Give specific information.

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
    attached for Part 5. Write that number here.......................................................................................................................          $0.00


  Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

            No. Go to Part 7.
            Yes. Go to line 47.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish
            No
            Yes............................


48. Crops--either growing or harvested

            No
            Yes. Give specific
            information..........................

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

            No
            Yes..............................


50. Farm and fishing supplies, chemicals, and feed

            No
            Yes..............................


51. Any farm- and commercial fishing-related property you did not already list

            No
            Yes. Give specific
            information..........................

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
    attached for Part 6. Write that number here.......................................................................................................................          $0.00




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 8
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Debtor 1           Cody James Beam                                                                                            Case number (if known)


  Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

             No
             Yes. Give specific information.


54. Add the dollar value of all of your entries from Part 7. Write that number here.................................................                                                             $0.00


  Part 8: List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2..............................................................................................................................................              $0.00

56. Part 2: Total vehicles, line 5                                                                                           $0.00

57. Part 3: Total personal and household items, line 15                                                               $7,286.00

58. Part 4: Total financial assets, line 36                                                                           $2,180.99

59. Part 5: Total business-related property, line 45                                                                         $0.00

60. Part 6: Total farm- and fishing-related property, line 52                                                                $0.00

61. Part 7: Total other property not listed, line 54                                               +                         $0.00

                                                                                                                                            Copy personal
62. Total personal property.                   Add lines 56 through 61.................................               $9,466.99             property total                 +              $9,466.99


63. Total of all property on Schedule A/B.                          Add line 55 + line 62....................................................................................................... $9,466.99




Official Form 106A/B                                                                  Schedule A/B: Property                                                                                      page 9
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Debtor 1    Cody James Beam                                                   Case number (if known)


9.   Equipment for sports and hobbies (details):

     Bicycle                                                                                                   $600.00

     Equipment left from previous business - Tier 1 Lawn Care                                                 $4,485.00

     (2) Commercial Honda 21" mowers - self propel $1000 ea.
     (2) Commercial Honda 21" mower - non-self propel $750 ea.
     (3) STIHL professional trimmers $275 ea.
     STIHL gas backpack leaf blower $350
     (3) Tatch racks $30 ea.
     (4) Leaf racks $20 ea.
     Tool box $40




Official Form 106A/B                                 Schedule A/B: Property                                        page 10
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 Fill in this information to identify your case:
 Debtor 1            Cody                 James                  Beam
                     First Name           Middle Name            Last Name
 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name

 United States Bankruptcy Court for the: DISTRICT OF MINNESOTA
                                                                                                                     Check if this is an
 Case number                                                                                                         amended filing
 (if known)

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1:        Identify the Property You Claim as Exempt

1.   Which set of exemptions are you claiming?             Check one only, even if your spouse is filing with you.
          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on           Current value of     Amount of the                Specific laws that allow exemption
Schedule A/B that lists this property                   the portion you      exemption you claim
                                                        own
                                                        Copy the value from Check only one box for
                                                        Schedule A/B        each exemption


Brief description:                                          $1,000.00                  $1,000.00          11 U.S.C. § 522(d)(3)
Usual household good and furnishings                                              100% of fair market
                                                                                  value, up to any
Line from Schedule A/B:           6
                                                                                  applicable statutory
                                                                                  limit

Brief description:                                           $350.00                    $350.00           11 U.S.C. § 522(d)(3)
iPhone 10 $200                                                                    100% of fair market
iPad $100                                                                         value, up to any
Apple watch $50                                                                   applicable statutory
(1st exemption claimed for this asset)                                            limit
Line from Schedule A/B: 7




3.   Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
              No
              Yes

Official Form 106C                               Schedule C: The Property You Claim as Exempt                                               page 1
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Debtor 1      Cody James Beam                                                        Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                       $350.00                    $0.00           11 U.S.C. § 522(d)(5)
iPhone 10 $200                                                               100% of fair market
iPad $100                                                                    value, up to any
Apple watch $50                                                              applicable statutory
(2nd exemption claimed for this asset)                                       limit
Line from Schedule A/B: 7

Brief description:                                       $600.00                  $600.00           11 U.S.C. § 522(d)(5)
Bicycle                                                                      100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     9
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $4,485.00                $4,485.00          11 U.S.C. § 522(d)(5)
Equipment left from previous business -                                      100% of fair market
Tier 1 Lawn Care                                                             value, up to any
                                                                             applicable statutory
(2) Commercial Honda 21" mowers - self                                       limit
propel $1000 ea.
(2) Commercial Honda 21" mower - non-
self propel $750 ea.
(3) STIHL professional trimmers $275 ea.
STIHL gas backpack leaf blower $350
(3) Tatch racks $30 ea.
(4) Leaf racks $20 ea.
Tool box $40
Line from Schedule A/B:  9

Brief description:                                       $500.00                  $500.00           11 U.S.C. § 522(d)(3)
Usual wearing apparel                                                        100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    11
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $350.00                  $350.00           11 U.S.C. § 522(d)(4)
Wedding band                                                                 100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    12
                                                                             applicable statutory
                                                                             limit

Brief description:                                        $1.00                     $1.00           11 U.S.C. § 522(d)(5)
1 pet dog                                                                    100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    13
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $680.00                  $680.00           11 U.S.C. § 522(d)(5)
Cash on hand                                                                 100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    16
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 2
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Debtor 1      Cody James Beam                                                        Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                        $0.99                     $0.99           11 U.S.C. § 522(d)(5)
Wells Fargo checking account ending in                                       100% of fair market
                                                                             value, up to any
Line from Schedule A/B:   17.1
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 3
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Debtor 1      Cody James Beam                                                        Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                        $0.00                     $0.00           11 U.S.C. § 522(d)(5)
Tier One Performance LLC - ceased                                            100% of fair market
operation                                                                    value, up to any
                                                                             applicable statutory
Assets=                                                                      limit
Accounts Receivable= N/A
Inventory= N/A
Equipment=
 (2) Squat rack rigs $900 ea.
 (6) Squat racks $250 ea.
 (2) Functional trainers $500 ea.
 (6) GHD $130 ea.
 (7) Benches $50 ea.
 (18) Trap bars $25 ea.
 (20) 45lb barbells $25 ea.
 (4) 15lb barbells $25 ea.
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 (10) Dumbbell racks $25 ea.
 (11,050) Dumbbells $0.20 ea.
 (12) TRX units $10 ea.
 (8) Battle ropes $20 ea.
 (8) Sleds $25 ea.
 (7) Plate tree storage $45 ea.
 (6,875) Olympic plates $0.10 ea.
 (2,000) Bumper plates $0.25 ea.
 Gym flooring $1,500
 Speed timer system $500
 (2) Radar guns $130 ea.
 (2) Vertical jump mats $150 ea.
 Mac Book 13.3" $700
 (6) 55" TVs $75 ea.

Total Assets = $14,872.50

Liabilities=
American Equity Bank (secured loan)
$90,000
Centennial Utilities $288.29
Comcast $235.30
Metro 94 Business Center $130,000 lease
liability
West Bend Mutual Insurance Co $2,784.72
Spencer Fane LLP $11,914
Sentry Real Estate $75,000 lease liability
PayPal Business Loan $10,500
Xcel Energy $1,369.99
Upper Hand and other service agreements
(potential liability for breaking contracts)
Tyler Lewnau & West Bend Insurance
(potential injury lawsuit)

Total Liabilities = $322,092.30
Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 4
Total Net Worth= $0
Line from Schedule A/B:    19
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Debtor 1      Cody James Beam                                                        Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                      $1,500.00                $1,500.00          11 U.S.C. § 522(d)(5)
Security deposit on rental unit                                              100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    22
                                                                             applicable statutory
                                                                             limit

Brief description:                                        $0.00                     $0.00           11 U.S.C. § 522(d)(5)
Debtor does not anticipate 2019 or 2020                                      100% of fair market
income tax refunds as Debtor is self-                                        value, up to any
employed and usually owes.                                                   applicable statutory
Line from Schedule A/B: 28                                                   limit

Brief description:                                        $0.00                     $0.00           11 U.S.C. § 522(d)(5)
Estimated prorated portion of 2019 MN                                        100% of fair market
renter's refund                                                              value, up to any
Line from Schedule A/B: 28                                                   applicable statutory
                                                                             limit

Brief description:                                        $0.00                     $0.00           11 U.S.C. § 522(d)(5)
No current accounts receivable for                                           100% of fair market
personal training through LLC or as sole                                     value, up to any
proprietor                                                                   applicable statutory
Line from Schedule A/B: 38                                                   limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 5
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  Fill in this information to identify your case:
  Debtor 1             Cody                   James                 Beam
                       First Name             Middle Name           Last Name

  Debtor 2
  (Spouse, if filing) First Name              Middle Name           Last Name


  United States Bankruptcy Court for the: DISTRICT OF MINNESOTA

  Case number
                                                                                                                       Check if this is an
  (if known)
                                                                                                                       amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                     12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).


1.      Do any creditors have claims secured by your property?
             No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below.


  Part 1:         List All Secured Claims

2.      List all secured claims. If a creditor has more than one secured
        claim, list the creditor separately for each claim. If more than one             Column A               Column B               Column C
        creditor has a particular claim, list the other creditors in Part 2. As          Amount of claim        Value of collateral    Unsecured
        much as possible, list the claims in alphabetical order according to the         Do not deduct the      that supports this     portion
        creditor's name.                                                                 value of collateral    claim                  If any

  2.1                                            Describe the property that
                                                 secures the claim:

Creditor's name

Number       Street


                                                 As of the date you file, the claim is: Check all that apply.
                                                     Contingent
                                                     Unliquidated
City                     State   ZIP Code
                                                     Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates
   to a community debt
Date debt was incurred                           Last 4 digits of account number




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                                     $0.00

If this is the last page of your form, add the dollar value totals from
all pages. Write that number here:                                                                    $0.00

Official Form 106D                           Schedule D: Creditors Who Have Claims Secured by Property                                        page 1
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  Fill in this information to identify your case:
  Debtor 1             Cody                  James                  Beam
                       First Name            Middle Name            Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: DISTRICT OF MINNESOTA

  Case number
                                                                                                                        Check if this is an
  (if known)
                                                                                                                        amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                   12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


  Part 1:        List All of Your PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims against you?
            No. Go to Part 2.
            Yes.

2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
       claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
       show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
       more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
       claim, list the other creditors in Part 3.

       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                      Total claim       Priority              Nonpriority
                                                                                                                        amount                amount

     2.1                                                                                               $10,000.00         $10,000.00                 $0.00
Internal Revenue Service
Priority Creditor's Name                                   Last 4 digits of account number
PO Box 7346                                                When was the debt incurred?
Number       Street
                                                           As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
Philadelphia                    PA      19101-7346             Disputed
City                            State   ZIP Code
Who incurred the debt? Check one.                          Type of PRIORITY unsecured claim:
     Debtor 1 only                                            Domestic support obligations
     Debtor 2 only                                            Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                               Claims for death or personal injury while you were
     At least one of the debtors and another                  intoxicated
     Check if this claim is for a community debt              Other. Specify
Is the claim subject to offset?
     No
     Yes
2018




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Debtor 1       Cody James Beam                                                          Case number (if known)

  Part 1:        Your PRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the                     Total claim        Priority       Nonpriority
previous page.                                                                                                   amount         amount


   2.2                                                                                              $380.19           $380.19          $0.00
Internal Revenue Service
Priority Creditor's Name                              Last 4 digits of account number
PO Box 7346                                           When was the debt incurred?
Number       Street
                                                      As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Philadelphia               PA      19101-7346             Disputed
City                       State   ZIP Code
Who incurred the debt? Check one.                     Type of PRIORITY unsecured claim:
     Debtor 1 only                                       Domestic support obligations
     Debtor 2 only                                       Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                          Claims for death or personal injury while you were
     At least one of the debtors and another             intoxicated
     Check if this claim is for a community debt         Other. Specify
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Cody James Beam                                                                  Case number (if known)

  Part 2:        List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?
            No. You have nothing to report in this part. Submit this form to the court with your other schedules.
            Yes

4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
       Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

                                                                                                                                              Total claim

     4.1                                                                                                                                               $1.00
Adam Barta                                                  Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
3200 Labore Rd
Number        Street                                        As of the date you file, the claim is: Check all that apply.
Ste 102                                                         Contingent
                                                                Unliquidated
                                                                Disputed
Saint Paul                      MN      55113
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Business debt
Is the claim subject to offset?
     No
     Yes

     4.2                                                                                                                                        $90,000.00
American Equity Bank                                        Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
5900 Green Oak Dr # 100
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Minnetonka                      MN      55343
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Business debt
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Cody James Beam                                                             Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

   4.3                                                                                                                                $288.29
Centennial Utitlities                                    Last 4 digits of account number       2    7    0    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?
200 Civic Heights Circle
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Circle Pines                  MN      55014
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business debt
Is the claim subject to offset?
     No
     Yes

   4.4                                                                                                                                $235.30
Comcast                                                  Last 4 digits of account number       0    2    2    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
9602 S 300 W Ste B
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Sandy                         UT      84070
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business debt
Is the claim subject to offset?
     No
     Yes

   4.5                                                                                                                             $2,507.00
Dan Fleischhacker                                        Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
103 Osborne Rd NE
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Fridley                       MN      55432
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business debt
Is the claim subject to offset?
     No
     Yes


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  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

   4.6                                                                                                                                $75.00
Dropbox Inc                                              Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
1800 Owens St
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
San Francisco                 CA      94158
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business debt
Is the claim subject to offset?
     No
     Yes

   4.7                                                                                                                                 $1.00
Go Daddy.com LLC                                         Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Complete Payment recovery Services,
Number        Street                                     As of the date you file, the claim is: Check all that apply.
11601 Roosevelt Blvd                                         Contingent
                                                             Unliquidated
                                                             Disputed
St. Petersburg                FL      33716
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business debt
Is the claim subject to offset?
     No
     Yes

   4.8                                                                                                                             $8,717.66
Great Lakes Higher Education                             Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
2401 International Lane
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Madison WI 53704 3192                                        Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Student loan
Is the claim subject to offset?
     No
     Yes


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  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

   4.9                                                                                                                                $228.00
Hootsuite                                                Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
5 East 8th Ave
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Vancouver, Canada, T5T 1R6                                   Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business debt
Is the claim subject to offset?
     No
     Yes

  4.10                                                                                                                           $27,906.21
Huntington National Bank                                 Last 4 digits of account number       1    6    7    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?
2361 Morse Road
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Columbus                      OH      43229
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Repossession
Is the claim subject to offset?
     No
     Yes

  4.11                                                                                                                                  $1.00
Luire LLP                                                Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
2501 Wayzata Blvd
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Minneapolis                   MN      55405
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business debt
Is the claim subject to offset?
     No
     Yes


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  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.12                                                                                                                                 $1.00
Matt Faulken                                             Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
6770 Timberwolf Tr
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Minneapolis                   MN      55433
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business debt
Is the claim subject to offset?
     No
     Yes

  4.13                                                                                                                          $130,000.00
METRO 94 BUSINESS CENTER, LLC                            Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
475 Etna St
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Saint Paul                    MN      55106
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business debt
Is the claim subject to offset?
     No
     Yes

  4.14                                                                                                                                 $8.84
Microsoft                                                Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 847124
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Dallas                        TX      75284-7124
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Consumer debt
Is the claim subject to offset?
     No
     Yes


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  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.15                                                                                                                                $532.00
Minnesota Unemployment Insurance                         Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
P.O. Box 64653
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
St. Paul                      MN      55164
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business debt
Is the claim subject to offset?
     No
     Yes

  4.16                                                                                                                             $6,621.97
Nelnet Education                                         Last 4 digits of account number       0    2    6    7
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 82561
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Lincoln                       NE      68501
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Student loans
Is the claim subject to offset?
     No
     Yes

  4.17                                                                                                                           $10,500.00
PayPal Business Loan c/o Swift Financial                 Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Attn: Bankruptcy Notice
Number        Street                                     As of the date you file, the claim is: Check all that apply.
3505 Silverside Rd                                           Contingent
                                                             Unliquidated
                                                             Disputed
Wilmington                    DE      19810
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business debt
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Cody James Beam                                                             Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.18                                                                                                                                 $1.00
QuickBooks - Intuit                                      Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
2700 Coast Ave
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Mountain View                 CA      94043
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business debt
Is the claim subject to offset?
     No
     Yes

  4.19                                                                                                                           $29,694.48
Sentry Real Estate Inc.                                  Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
479 Apollo Dr, Ste 50
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Lino Lakes                    MN      55014
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business debt
Is the claim subject to offset?
     No
     Yes

  4.20                                                                                                                                 $1.00
Shopify                                                  Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
150 Elgin St
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Ottawa ON, K2P 1L4                                           Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business debt
Is the claim subject to offset?
     No
     Yes


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  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.21                                                                                                                                $825.00
Shoreview Area Youth Baseball Inc (SAYB)                 Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Attn Erik Drange
Number        Street                                     As of the date you file, the claim is: Check all that apply.
505 Harbor Ct                                                Contingent
                                                             Unliquidated
                                                             Disputed
Shoreview                     MN      55126
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business debt
Is the claim subject to offset?
     No
     Yes

  4.22                                                                                                                                 $22.10
Sirius Satellite Radio                                   Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 33174
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Detroit                       MI      48232
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Consumer debt
Is the claim subject to offset?
     No
     Yes

  4.23                                                                                                                           $11,914.00
Spencer Fane LLP                                         Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 872037
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Kansas City                   MO      64187-2037
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business debt
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                    page 10
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Debtor 1       Cody James Beam                                                             Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.24                                                                                                                                 $1.00
Tony Kriegler                                            Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
1262 Englewood Ave
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
St. Paul                      MN      55104
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business debt
Is the claim subject to offset?
     No
     Yes

  4.25                                                                                                                                 $1.00
Tyler Lewnau                                             Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
14357 Partridge St NW
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Andover                       MN      55304
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Any liability
Is the claim subject to offset?
     No
     Yes

  4.26                                                                                                                                 $1.00
Upper Hand                                               Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
129 E Market St
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Indianapolis                  IN      46204
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business debt
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                    page 11
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Debtor 1       Cody James Beam                                                             Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.27                                                                                                                             $2,950.00
Walker & Walker Law Offices, PLLC                        Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
4356 Nicollet Ave So
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Minneapolis                   MN      55409
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Attorney Fees
Is the claim subject to offset?
     No
     Yes

  4.28                                                                                                                             $8,259.90
Wells Fargo Card Services                                Last 4 digits of account number       0    1    9    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 10347
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Des Moines IA 50306 0347                                     Contingent
                                                             Unliquidated
                                                             Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Consumer debt
Is the claim subject to offset?
     No
     Yes

  4.29                                                                                                                             $2,784.72
West Bend Mutual Insurance Comp                          Last 4 digits of account number       4    4    0    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?
1900 South 18th Avenue
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
West Bend                     WI      53095
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Any liability
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Cody James Beam                                                             Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.30                                                                                                                                 $24.85
Wix                                                      Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
500 Terry A Francois Blvd
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
San Francisco                 CA      94158
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business debt
Is the claim subject to offset?
     No
     Yes

  4.31                                                                                                                                $799.71
Xcel Energy                                              Last 4 digits of account number       4    4    6    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Attn: Correspondence Team
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO box 8                                                     Contingent
                                                             Unliquidated
                                                             Disputed
Eau Claire                    WI      54702
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business debt
Is the claim subject to offset?
     No
     Yes

  4.32                                                                                                                                $570.28
Xcel Energy                                              Last 4 digits of account number       3    1    2    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Attn: Correspondence Team
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO box 8                                                     Contingent
                                                             Unliquidated
                                                             Disputed
Eau Claire                    WI      54702
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Business debt
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                    page 13
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Debtor 1       Cody James Beam                                                            Case number (if known)

  Part 3:        List Others to Be Notified About a Debt That You Already Listed

5.     Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2.
       For example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original
       creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have more than one creditor for any of the
       debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional parties to be notified for
       any debts in Parts 1 or 2, do not fill out or submit this page.


Fafinski Mark & Johnson PA                                  On which entry in Part 1 or Part 2 did you list the original creditor?
Name
775 Prairie Center Dr, Ste 400                              Line   4.13 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Eden Prairie                    MN      55344
City                            State   ZIP Code


Meshbesher & Spence                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Name
1616 Park Ave                                               Line   4.25 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Minneapolis                     MN      55404
City                            State   ZIP Code


North Risk Partners, LLC                                    On which entry in Part 1 or Part 2 did you list the original creditor?
Name
622 Roosevelt Rd, Ste 240                                   Line   4.29 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Saint Cloud                     MN      56301
City                            State   ZIP Code




Official Form 106E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                             page 14
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Debtor 1       Cody James Beam                                                         Case number (if known)

 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.


                                                                                                               Total claim

Total claims      6a. Domestic support obligations                                                   6a.                     $0.00
from Part 1
                  6b. Taxes and certain other debts you owe the government                           6b.             $10,380.19

                  6c. Claims for death or personal injury while you were intoxicated                 6c.                     $0.00

                  6d. Other. Add all other priority unsecured claims. Write that amount here.        6d.   +                 $0.00


                  6e. Total.     Add lines 6a through 6d.                                            6d.             $10,380.19




                                                                                                               Total claim

Total claims      6f.   Student loans                                                                6f.                     $0.00
from Part 2
                  6g. Obligations arising out of a separation agreement or divorce                   6g.                     $0.00
                      that you did not report as priority claims

                  6h. Debts to pension or profit-sharing plans, and other similar                    6h.                     $0.00
                      debts

                  6i.   Other. Add all other nonpriority unsecured claims. Write that amount here.   6i.   +        $335,474.31


                  6j.   Total.   Add lines 6f through 6i.                                            6j.            $335,474.31




Official Form 106E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                      page 15
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 Fill in this information to identify your case:
 Debtor 1             Cody                  James                  Beam
                      First Name            Middle Name            Last Name

 Debtor 2
 (Spouse, if filing) First Name             Middle Name            Last Name


 United States Bankruptcy Court for the: DISTRICT OF MINNESOTA

 Case number
                                                                                                                      Check if this is an
 (if known)
                                                                                                                      amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


1.     Do you have any executory contracts or unexpired leases?
            No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
            Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
       is for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
       executory contracts and unexpired leases.

          Person or company with whom you have the contract or lease                   State what the contract or lease is for

 2.1      METRO 94 BUSINESS CENTER, LLC                                                business lease
          Name                                                                         Contract to be REJECTED
          475 Etna St
          Number    Street



          Saint Paul                                   MN        55106
          City                                         State     ZIP Code

 2.2      Sentry Real Estate Inc.                                                      business rental lease
          Name                                                                         Contract to be REJECTED
          479 Apollo Dr, Ste 50
          Number    Street



          Lino Lakes                                   MN        55014
          City                                         State     ZIP Code

 2.3      Shoreview Area Youth Baseball Inc (SAYB)                                     rental lease agreement
          Name                                                                         Contract to be REJECTED
          Attn Erik Drange
          Number    Street
          505 Harbor Ct
          Shoreview                                    MN        55126
          City                                         State     ZIP Code




Official Form 106G                            Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
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 Fill in this information to identify your case:
 Debtor 1            Cody                James                   Beam
                     First Name          Middle Name             Last Name

 Debtor 2
 (Spouse, if filing) First Name          Middle Name             Last Name


 United States Bankruptcy Court for the: DISTRICT OF MINNESOTA

 Case number
                                                                                                                    Check if this is an
 (if known)
                                                                                                                    amended filing



Official Form 106H
Schedule H: Your Codebtors                                                                                                                12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If
two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this
page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.


1.   Do you have any codebtors?       (If you are filing a joint case, do not list either spouse as a codebtor.)
         No
         Yes

2.   Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
     include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
          No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
              No
              Yes
3.   In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
     person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
     creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use
     Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

        Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt

                                                                                             Check all schedules that apply:




Official Form 106H                                         Schedule H: Your Codebtors                                                     page 1
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 Fill in this information to identify your case:
     Debtor 1              Cody                 James                  Beam
                           First Name           Middle Name            Last Name                           Check if this is:
     Debtor 2                                                                                                   An amended filing
     (Spouse, if filing)   First Name           Middle Name            Last Name
                                                                                                                A supplement showing postpetition
     United States Bankruptcy Court for the:   DISTRICT OF MINNESOTA
                                                                                                                chapter 13 income as of the following date:
     Case number
     (if known)
                                                                                                                MM / DD / YYYY
Official Form 106I
Schedule I: Your Income                                                                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                             Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status             Employed                                           Employed
      with information about                                          Not employed                                       Not employed
      additional employers.
                                        Occupation             Self-Employed                                      Self-Employed
      Include part-time, seasonal,
      or self-employed work.            Employer's name        Sole Proprietor Training Program

      Occupation may include            Employer's address
      student or homemaker, if it                              Number Street                                      Number Street
      applies.




                                                               City                         State   Zip Code      City                   State   Zip Code

                                        How long employed there?        2020

 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                            For Debtor 1            For Debtor 2 or
                                                                                                                    non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.                     $0.00                   $0.00
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.
3.    Estimate and list monthly overtime pay.                                      3.   +              $0.00                   $0.00

4.    Calculate gross income. Add line 2 + line 3.                                 4.                  $0.00                   $0.00




Official Form 106I                                            Schedule I: Your Income                                                                page 1
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Debtor 1        Cody James Beam                                                                                                       Case number (if known)
                                                                                                                        For Debtor 1              For Debtor 2 or
                                                                                                                                                  non-filing spouse
     Copy line 4 here ...................................................................................................................
                                                                                                                 4.                       $0.00            $0.00
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                          5a.                  $0.00                 $0.00
     5b. Mandatory contributions for retirement plans                                                           5b.                  $0.00                 $0.00
     5c. Voluntary contributions for retirement plans                                                           5c.                  $0.00                 $0.00
     5d. Required repayments of retirement fund loans                                                           5d.                  $0.00                 $0.00
     5e. Insurance                                                                                              5e.                  $0.00                 $0.00
     5f. Domestic support obligations                                                                           5f.                  $0.00                 $0.00
     5g. Union dues                                                                                             5g.                  $0.00                 $0.00
     5h. Other deductions.
          Specify:                                                                                              5h. +                $0.00                 $0.00
6.   Add the payroll deductions.                   Add lines 5a + 5b + 5c + 5d + 5e + 5f +                      6.                   $0.00                 $0.00
     5g + 5h.
7.   Calculate total monthly take-home pay.                           Subtract line 6 from line 4.              7.                   $0.00                 $0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                                   8a.           $5,047.00                    $0.00
          business, profession, or farm
            Attach a statement for each property and business showing
            gross receipts, ordinary and necessary business expenses, and
            the total monthly net income.
     8b. Interest and dividends                                                                                 8b.                  $0.00                 $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                            8c.                  $0.00                 $0.00
         dependent regularly receive
            Include alimony, spousal support, child support, maintenance,
            divorce settlement, and property settlement.
     8d. Unemployment compensation                                                                              8d.                  $0.00                 $0.00
     8e. Social Security                                                                                        8e.                  $0.00                 $0.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                               8f.                  $0.00                 $0.00
     8g. Pension or retirement income                                                                           8g.                  $0.00                 $0.00
     8h. Other monthly income.
         Specify:                                                                                               8h. +                $0.00                 $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                     9.            $5,047.00                    $0.00

10. Calculate monthly income. Add line 7 + line 9.                             10.     $5,047.00 +             $0.00 =                                                        $5,047.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                                  11.    +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                                  12.            $5,047.00
    income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
    if it applies.                                                                                                                                                        Combined
                                                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.           Debtor's current business lease agreement requires he pay 20-25% of his gross revenue toward his
        Yes. Explain: rental. Debtor's spouse is currently taking time off and is not working as their recent child was born
                                 February 23, 2020.


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Debtor 1      Cody James Beam                                                        Case number (if known)

8a. Attached Statement (Debtor 1)
                                                 Sole Proprietor Personal Training
FINANCIAL REVIEW OF THE DEBTOR'S BUSINESS (NOTE: ONLY INCLUDE information directly related to the business operation.)

PART A - GROSS BUSINESS INCOME FOR PREVIOUS 12 MONTHS:

     1. Gross Income for 12 Months Prior to Filing:                                           $0.00
PART B - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:

     2. Gross Monthly Income:                                                                                        $16,000.00
PART C - ESTIMATED AVERAGE FUTURE MONTHLY EXPENSES:

     3. Net Employee Payroll (Other Than Debtor):                                            $0.00
     4. Payroll Taxes:                                                                       $0.00
     5. Unemployment Taxes:                                                                  $0.00
     6. Worker's Compensation:                                                               $0.00
     7. Other Taxes:                                                                     $4,000.00
     8. Inventory Purchases (including raw materials):                                   $1,000.00
     9. Purchase of Feed/Fertilizer/Seed/Spray:                                              $0.00
     10. Rent (other than debtor's principal residence):                                 $4,000.00
     11. Utilities:                                                                       $800.00
     12. Office Expenses and Supplies:                                                    $300.00
     13. Repairs and Maintenance:                                                         $250.00
     14. Vehicle Expenses:                                                                   $0.00
     15. Travel and Entertainment:                                                           $0.00
     16. Equipment Rental and Leases:                                                        $0.00
     17. Legal/Accounting/Other Professional Fees:                                           $0.00
     18. Insurance:                                                                          $0.00
     19. Employee Benefits (e.g., pension, medical, etc.):                                   $0.00
     20. Payments to be Made Directly by Debtor to Secured Creditors for
          Pre-Petition Business Debts (Specify):                                              None
     21. Other (Specify):
           Licenses and dues                                                               $500.00
           Storage Unit                                                                    $103.00
     22. Total Monthly Expenses (Add items 3 - 21)                                                                   $10,953.00
PART D - ESTIMATED AVERAGE NET MONTHLY INCOME:

     23. AVERAGE NET MONTHLY INCOME (Subtract item 22 from item 2):                                                      $5,047.00




Official Form 106I                                         Schedule I: Your Income                                          page 3
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 Fill in this information to identify your case:
                                                                                                         Check if this is:
     Debtor 1              Cody                   James                  Beam                                An amended filing
                           First Name             Middle Name            Last Name                           A supplement showing postpetition
                                                                                                             chapter 13 expenses as of the
     Debtor 2
     (Spouse, if filing)   First Name             Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:    DISTRICT OF MINNESOTA                                          MM / DD / YYYY
     Case number
     (if known)

Official Form 106J
Schedule J: Your Expenses                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?                  No
                                               Yes. Fill out this information          Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                                                         Debtor 1 or Debtor 2           age              live with you?
                                               for each dependent...................................
      Debtor 2.                                                                                                                            No
                                                                                  Daughter                            1 month
                                                                                                                                           Yes
      Do not state the dependents'
                                                                                                                                           No
      names.
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
3.    Do your expenses include                        No
      expenses of people other than                   Yes
      yourself and your dependents?


 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                      Your expenses

4.    The rental or home ownership expenses for your residence.                                                      4.                    $1,550.00
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                          4a.

      4b. Property, homeowner's, or renter's insurance                                                               4b.

      4c. Home maintenance, repair, and upkeep expenses                                                              4c.

      4d. Homeowner's association or condominium dues                                                                4d.




 Official Form 106J                                             Schedule J: Your Expenses                                                        page 1
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Debtor 1      Cody James Beam                                                          Case number (if known)

                                                                                                          Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                     5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                             6a.                   $125.00
     6b. Water, sewer, garbage collection                                                           6b.

     6c. Telephone, cell phone, Internet, satellite, and                                            6c.                     $75.00
         cable services
     6d. Other. Specify:     Cell Phone                                                             6d.                   $250.00
7.   Food and housekeeping supplies                                                                 7.                    $440.00
8.   Childcare and children's education costs                                                       8.                    $100.00
9.   Clothing, laundry, and dry cleaning                                                            9.                    $100.00
10. Personal care products and services                                                             10.                   $100.00
11. Medical and dental expenses                                                                     11.                   $300.00
12. Transportation. Include gas, maintenance, bus or train                                          12.                   $200.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                   13.                   $100.00
    magazines, and books
14. Charitable contributions and religious donations                                                14.

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.   Life insurance                                                                          15a.

     15b.   Health insurance                                                                        15b.                  $800.00
     15c.   Vehicle insurance                                                                       15c.                  $125.00
     15d.   Other insurance. Specify:                                                               15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                        16.

17. Installment or lease payments:

     17a.   Car payments for Vehicle 1                                                              17a.

     17b.   Car payments for Vehicle 2                                                              17b.

     17c.   Other. Specify: Student Loans                                                           17c.                  $350.00
     17d.   Other. Specify: NFS Student Loans                                                       17d.                  $300.00
18. Your payments of alimony, maintenance, and support that you did not report as                   18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                        19.




 Official Form 106J                                        Schedule J: Your Expenses                                         page 2
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Debtor 1      Cody James Beam                                                                  Case number (if known)

20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
    20a.    Mortgages on other property                                                                      20a.

    20b.    Real estate taxes                                                                                20b.

    20c.    Property, homeowner's, or renter's insurance                                                     20c.

    20d.    Maintenance, repair, and upkeep expenses                                                         20d.

    20e.    Homeowner's association or condominium dues                                                      20e.

21. Other. Specify: Pet Care                                                                                 21.    +           $150.00
22. Calculate your monthly expenses.

    22a.    Add lines 4 through 21.                                                                          22a.              $5,065.00
    22b.    Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                 22b.

    22c.    Add line 22a and 22b. The result is your monthly expenses.                                       22c.              $5,065.00

23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.              $5,047.00
    23b.    Copy your monthly expenses from line 22c above.                                                  23b.   –          $5,065.00
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.               ($18.00)

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                None.




 Official Form 106J                                         Schedule J: Your Expenses                                               page 3
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 Fill in this information to identify your case:
 Debtor 1                Cody                          James                         Beam
                         First Name                    Middle Name                   Last Name

 Debtor 2
 (Spouse, if filing) First Name                        Middle Name                   Last Name


 United States Bankruptcy Court for the: DISTRICT OF MINNESOTA

 Case number
                                                                                                                                                          Check if this is an
 (if known)
                                                                                                                                                          amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.



 Part 1:          Summarize Your Assets

                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1.   Schedule A/B: Property (Official Form 106A/B)

     1a. Copy line 55, Total real estate, from Schedule A/B.....................................................................................................................             $0.00


                                                                                                                                                                           $9,466.99
     1b. Copy line 62, Total personal property, from Schedule A/B......................................................................................................................................................


                                                                                                                                                                                 $9,466.99
     1c. Copy line 63, Total of all property on Schedule A/B................................................................................................................................................................


 Part 2:          Summarize Your Liabilities

                                                                                                                                                                        Your liabilities
                                                                                                                                                                        Amount you owe

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.........................                                             $0.00

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                        $10,380.19
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................................................................


                                                                                                                                    +               $335,474.31
     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F........................................................



                                                                                                                                   Your total liabilities                         $345,854.50




 Part 3:          Summarize Your Income and Expenses

4.   Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                         $5,047.00
     Copy your combined monthly income from line 12 of Schedule I....................................................................................................................................................

5.   Schedule J: Your Expenses (Official Form 106J)
     Copy your monthly expenses from line 22c of Schedule J.........................................................................................................                  $5,065.00




Official Form 106Sum                        Summary of Your Assets and Liabilities and Certain Statistical Information                                                                        page 1
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Debtor 1      Cody James Beam                                                              Case number (if known)


 Part 4:        Answer These Questions for Administrative and Statistical Records

6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

           No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
           Yes

7.   What kind of debt do you have?

           Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
           family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from
     Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                        Total claim

     From Part 4 on Schedule E/F, copy the following:

     9a. Domestic support obligations. (Copy line 6a.)

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

     9d. Student loans. (Copy line 6f.)

     9e. Obligations arising out of a separation agreement or divorce that you did not report as
         priority claims. (Copy line 6g.)

     9f.   Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)       +

     9g. Total.    Add lines 9a through 9f.




Official Form 106Sum               Summary of Your Assets and Liabilities and Certain Statistical Information                                page 2
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 Fill in this information to identify your case:
 Debtor 1           Cody                James                Beam
                    First Name          Middle Name          Last Name

 Debtor 2
 (Spouse, if filing) First Name         Middle Name          Last Name


 United States Bankruptcy Court for the: DISTRICT OF MINNESOTA

 Case number
                                                                                                             Check if this is an
 (if known)
                                                                                                             amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                     12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below

    Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

          No

          Yes. Name of person                                                                Attach Bankruptcy Petition Preparer's Notice,
                                                                                             Declaration, and Signature (Official Form 119).




    Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are
    true and correct.



    X /s/ Cody James Beam                                  X
        Cody James Beam, Debtor 1                              Signature of Debtor 2

        Date 03/27/2020                                        Date
             MM / DD / YYYY                                           MM / DD / YYYY




Official Form 106Dec                        Declaration About an Individual Debtor's Schedules                                         page 1
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 Fill in this information to identify your case:
 Debtor 1            Cody                    James                Beam
                     First Name              Middle Name          Last Name

 Debtor 2
 (Spouse, if filing) First Name              Middle Name          Last Name


 United States Bankruptcy Court for the: DISTRICT OF MINNESOTA

 Case number
                                                                                                                     Check if this is an
 (if known)
                                                                                                                     amended filing

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                          04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

1.   What is your current marital status?
        Married
        Not married

2.   During the last 3 years, have you lived anywhere other than where you live now?
         No
         Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1:                                          Dates Debtor 1       Debtor 2:                                        Dates Debtor 2
                                                           lived there                                                           lived there
                                                                                       Same as Debtor 1                               Same as Debtor 1


        708 6th St NE                                      From April 2018                                                       From
        Number      Street                                                      Number      Street
                                                           To   March 2019                                                       To


        Minneapolis               MN       55418
        City                      State    ZIP Code                             City                      State   ZIP Code


        Debtor 1:                                          Dates Debtor 1       Debtor 2:                                        Dates Debtor 2
                                                           lived there                                                           lived there
                                                                                       Same as Debtor 1                               Same as Debtor 1


        1323 Hillwind Rd                                   From April 2017                                                       From
        Number      Street                                                      Number      Street
                                                           To    April 2018                                                      To


        Fridley                   MN       55432
        City                      State    ZIP Code                             City                      State   ZIP Code


3.   Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?
     (Community property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,
     Washington, and Wisconsin.)
         No
         Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 1
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Debtor 1       Cody James Beam                                                           Case number (if known)

 Part 2:         Explain the Sources of Your Income
4.   Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

           No
           Yes. Fill in the details.

                                                    Debtor 1                                        Debtor 2

                                                  Sources of income          Gross income          Sources of income         Gross income
                                                  Check all that apply.      (before deductions    Check all that apply.     (before deductions
                                                                             and exclusions                                  and exclusions

From January 1 of the current year until              Wages, commissions,            $13,387.14       Wages, commissions,
the date you filed for bankruptcy:                    bonuses, tips                                   bonuses, tips
                                                      Operating a business                            Operating a business


For the last calendar year:                           Wages, commissions, $250,000.00 (est.)          Wages, commissions,
                                                      bonuses, tips                                   bonuses, tips
(January 1 to December 31, 2019 )
                                  YYYY                Operating a business                            Operating a business


For the calendar year before that:                    Wages, commissions,          $134,579.00        Wages, commissions,
                                                      bonuses, tips                                   bonuses, tips
(January 1 to December 31, 2018 )
                                  YYYY                Operating a business                            Operating a business

5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security;
     unemployment; and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
     and gambling and lottery winnings. If you are in a joint case and you have income that you received together, list it only once under
     Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.




Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 2
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Debtor 1         Cody James Beam                                                               Case number (if known)


  Part 3:         List Certain Payments You Made Before You Filed for Bankruptcy
6.     Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

           No.       Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                     "incurred by an individual primarily for a personal, family, or household purpose."

                     During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

                        No. Go to line 7.

                        Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
                             total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                             child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

                     * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

                     During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                        No. Go to line 7.

                        Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                             creditor. Do not include payments for domestic support obligations, such as child support and alimony.
                             Also, do not include payments to an attorney for this bankruptcy case.

7.     Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
       Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
       corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
       agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations
       such as child support and alimony.

           No
           Yes. List all payments to an insider.

                                                               Dates of       Total amount         Amount you          Reason for this payment
                                                               payment        paid                 still owe
Steve Madsen                                                                     $30,750.00              $0.00         paid back $30,000 loan,
Insider's name                                                                                                         borrowed for help with
                                                               September 27, 2019
                                                                                                                       business expenses
Number      Street




City                                 State    ZIP Code




Official Form 107                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 3
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Debtor 1         Cody James Beam                                                               Case number (if known)

8.     Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that
       benefited an insider?
       Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments that benefited an insider.

  Part 4:         Identify Legal Actions, Repossessions, and Foreclosures
9.     Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
       List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
       modifications, and contract disputes.

           No
           Yes. Fill in the details.

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,
    seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.

                                                                Describe the property                            Date              Value of the property
Huntington National Bank                                        2016 GMC Sierra 1500                                  3/13/2020         $15,000.00
Creditor's Name


Number      Street                                              Explain what happened
                                                                   Property was repossessed.
                                                                   Property was foreclosed.
                                                                   Property was garnished.
City                                   State      ZIP Code         Property was attached, seized, or levied.

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any
    amounts from your accounts or refuse to make a payment because you owed a debt?

           No
           Yes. Fill in the details.

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
    creditors, a court-appointed receiver, a custodian, or another official?

           No
           Yes




Official Form 107                              Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 4
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Debtor 1       Cody James Beam                                                             Case number (if known)

  Part 5:        List Certain Gifts and Contributions
13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

           No
           Yes. Fill in the details for each gift.

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600
    to any charity?


           No
           Yes. Fill in the details for each gift or contribution.

  Part 6:        List Certain Losses
15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire,
    other disaster, or gambling?

           No
           Yes. Fill in the details.

  Part 7:        List Certain Payments or Transfers
16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
       Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required for your bankruptcy.

           No
           Yes. Fill in the details.

                                                       Description and value of any property transferred        Date payment        Amount of
Walker & Walker Law Offices, PLLC                                                                               or transfer was     payment
Person Who Was Paid                                                                                             made

4356 Nicollet Ave So                                                                                                                    $15.00
Number      Street




Minneapolis                   MN       55409
City                          State    ZIP Code


Email or website address


Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone who promised to help you deal with your creditors or to make payments to your creditors?
       Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 5
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Debtor 1        Cody James Beam                                                             Case number (if known)

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
    property transferred in the ordinary course of your business or financial affairs?
       Include both outright transfers and transfers made as security (such as granting of a security interest or mortgage on your property).
       Do not include gifts and transfers that you have already listed on this statement.


           No
           Yes. Fill in the details.

                                                      Description and value of any           Describe any property or payments          Date transfer
Matt Faulken                                          property transferred                   received or debts paid in exchange         was made
Person Who Received Transfer                          $40,000                                interest in current business                09/27/2019
6770 Timberwolf Trail                                                                        Debtor could not sell business
Number      Street                                                                           as business is not profitable and
                                                                                             has no net worth


Lino Lakes                      MN      55433
City                            State   ZIP Code

Person's relationship to you Business Partner

                                                      Description and value of any           Describe any property or payments          Date transfer
Adam Barta                                            property transferred                   received or debts paid in exchange         was made
Person Who Received Transfer                          $40,000                                interest in current business                 9/27/2019
3200 Labore Rd                                                                               Debtor could not sell business
Number      Street                                                                           as business is not profitable and
Ste 102                                                                                      has no net worth


Vadnais Heights                 MN      55113
City                            State   ZIP Code

Person's relationship to you Business Partner

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
    you are a beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.

  Part 8:         List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units
20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
    benefit, closed, sold, moved, or transferred?
       Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
       houses, pension funds, cooperatives, associations, and other financial institutions.

           No
           Yes. Fill in the details.

                                                      Last 4 digits of account     Type of account or           Date account         Last balance
                                                      number                       instrument                   was closed,          before closing
                                                                                                                sold, moved,         or transfer
                                                                                                                or transferred
US Bank
Name of Financial Institution
                                                      XXXX-                            Checking                       3/4/20             $427.63
                                                                                       Savings
Number      Street
                                                                                       Money market
                                                                                       Brokerage
                                                                                       Other

City                            State   ZIP Code




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 6
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Debtor 1        Cody James Beam                                                                    Case number (if known)

                                                          Last 4 digits of account       Type of account or          Date account     Last balance
                                                          number                         instrument                  was closed,      before closing
                                                                                                                     sold, moved,     or transfer
                                                                                                                     or transferred
US Bank
Name of Financial Institution
                                                          XXXX-                                 Checking                    3/4/20         $0.00
                                                                                                Savings
Number      Street
                                                                                                Money market
                                                                                                Brokerage
                                                                                                Other

City                            State   ZIP Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository
    for securities, cash, or other valuables?

           No
           Yes. Fill in the details.

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
       No
       Yes. Fill in the details.

                                                   Who else has or had access to it?                Describe the contents                Do you still
                                                                                                                                         have it?

Acorn Storage                                                                                       business equipment from                  No
Name of Storage Facility                           Name                                             previous LLC (Tier One                   Yes
                                                                                                    Performance), listed on
Number      Street                                 Number     Street                                schedule B




City                        State   ZIP Code       City                    State     ZIP Code


  Part 9:         Identify Property You Hold or Control for Someone Else
23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
    or hold in trust for someone.

           No
           Yes. Fill in the details.




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Debtor 1        Cody James Beam                                                                 Case number (if known)

  Part 10:        Give Details About Environmental Information
For the purpose of Part 10, the following definitions apply:

       Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
       hazardous or toxic substance, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
       including statutes or regulations controlling the cleanup of these substances, wastes, or material.
       Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
       utilize it or used to own, operate, or utilize it, including disposal sites.

       Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
       substance, hazardous material, pollutant, contaminant, or similar item.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental
    law?

            No
            Yes. Fill in the details.
25. Have you notified any governmental unit of any release of hazardous material?
       No
       Yes. Fill in the details.

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and
    orders.

            No
            Yes. Fill in the details.

  Part 11:        Give Details About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
    business?

                 A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                 A member of a limited liability company (LLC) or limited liability partnership (LLP)
                 A partner in a partnership
                 An officer, director, or managing executive of a corporation
                 An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.
            Yes. Check all that apply above and fill in the details below for each business.

                                                  Describe the nature of the business                 Employer Identification number
Sole Proprietor Personal Training                 Debtor will continue to do personal                 Do not include Social Security number or ITIN.
Business Name                                     training but has ended all operations
                                                                                                      EIN:           –
                                                  through Tier One Performance LLC
Number       Street
                                                  Name of accountant or bookkeeper                    Dates business existed

                                                                                                      From March 2020          To   current

City                       State   ZIP Code




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Debtor 1          Cody James Beam                                                           Case number (if known)

                                                  Describe the nature of the business            Employer Identification number
Tier One Performance LLC                          personal training                              Do not include Social Security number or ITIN.
Business Name
                                                                                                 EIN: 4     7 – 5      1    2    0    5    7    3
                                                  Name of accountant or bookkeeper
Number        Street
                                                                                                 Dates business existed

                                                                                                 From     10/14/2015       To   02/2020

City                         State   ZIP Code

                                                  Describe the nature of the business            Employer Identification number
Tier 1 Lawn Care LLC                              landscaping services                           Do not include Social Security number or ITIN.
Business Name
                                                                                                 EIN: 8     2 – 4      9    9    1    9    6    6
                                                  Name of accountant or bookkeeper
Number        Street
                                                                                                 Dates business existed

                                                                                                 From     9/15/2015        To    2017

City                         State   ZIP Code

                                                  Describe the nature of the business            Employer Identification number
Beam Enterprises, LLC                             was created during partner buy out of          Do not include Social Security number or ITIN.
Business Name                                     Tier One Performance LLC but Debtor
                                                                                                 EIN:          –
                                                  never operated in any way under this
Number        Street                              name
                                                                                                 Dates business existed
                                                  Name of accountant or bookkeeper
                                                                                                 From       2019           To    2019

City                         State   ZIP Code

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include
    all financial institutions, creditors, or other parties.

              No
              Yes. Fill in the details below.

  Part 12:          Sign Below
I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury
that answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



X /s/ Cody James Beam                                        X
       Cody James Beam, Debtor 1                                 Signature of Debtor 2

       Date      03/27/2020                                      Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

       No
       Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

       No
       Yes. Name of person                                                                        Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                  Declaration, and Signature (Official Form 119).




Official Form 107                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 9
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 Fill in this information to identify your case:
 Debtor 1            Cody                 James                   Beam
                     First Name           Middle Name             Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name             Last Name


 United States Bankruptcy Court for the: DISTRICT OF MINNESOTA

 Case number
                                                                                                                             Check if this is an
 (if known)
                                                                                                                             amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                             12/15

If you are an individual filing under chapter 7, you must fill out this form if:

     creditors have claims secured by your property, or

     you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting
of creditors, whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors
and lessors you list on the form.

If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known).


 Part 1:        List Your Creditors Who Hold Secured Claims

1.    For any creditors that you listed in Part 1 of Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 106D),
      fill in the information below.

      Identify the creditor and the property that is collateral         What do you intend to do with the      Did you claim the property
                                                                        property that secures a debt?          as exempt on Schedule C?

      None.


 Part 2:        List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not
yet ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

      Describe your unexpired personal property leases                                                        Will this lease be assumed?

      Lessor's name:        METRO 94 BUSINESS CENTER, LLC                                                          No
      Description of leased business lease                                                                         Yes
      property:


      Lessor's name:        Sentry Real Estate Inc.                                                                No
      Description of leased business rental lease                                                                  Yes
      property:




Official Form 108                         Statement of Intention for Individuals Filing Under Chapter 7                                   page 1
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Debtor 1     Cody James Beam                                                        Case number (if known)

    Describe your unexpired personal property leases                                                         Will this lease be assumed?
    Lessor's name:        Shoreview Area Youth Baseball Inc (SAYB)                                               No
    Description of leased rental lease agreement                                                                 Yes
    property:



 Part 3:      Sign Below

   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and
   personal property that is subject to an unexpired lease.

X /s/ Cody James Beam                                X
   Cody James Beam, Debtor 1                             Signature of Debtor 2

   Date 03/27/2020                                       Date
        MM / DD / YYYY                                          MM / DD / YYYY




Official Form 108                      Statement of Intention for Individuals Filing Under Chapter 7                                page 2
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)



  This notice is for you if:
                                                                Chapter 7: Liquidation

     You are an individual filing for bankruptcy,
     and                                                               $245    filing fee
                                                                        $75    administrative fee
     Your debts are primarily consumer debts.                   +       $15    trustee surcharge
     Consumer debts are defined in 11 U.S.C. § 101(8)
                                                                       $335    total fee
     as "incurred by an individual primarily for a
     personal, family, or household purpose."
                                                                Chapter 7 is for individuals who have financial difficulty
                                                                preventing them from paying their debts and who are
                                                                willing to allow their non-exempt property to be used to
The types of bankruptcy that are available                      pay their creditors. The primary purpose of filing under
to individuals                                                  chapter 7 is to have your debts discharged. The
                                                                bankruptcy discharge relieves you after bankruptcy from
                                                                having to pay many of your pre-bankruptcy debts.
                                                                Exceptions exist for particular debts, and liens on
Individuals who meet the qualifications may file under one
                                                                property may still be enforced after discharge. For
of four different chapters of the Bankruptcy Code:
                                                                example, a creditor may have the right to foreclose a
                                                                home mortgage or repossess an automobile.
    Chapter 7 -- Liquidation
                                                                However, if the court finds that you have committed
    Chapter 11 -- Reorganization                                certain kinds of improper conduct described in the
                                                                Bankruptcy Code, the court may deny your discharge.
    Chapter 12 -- Voluntary repayment plan for family
                  farmers or fishermen                          You should know that the even if you file chapter 7 and
                                                                you receive a discharge, some debts are not discharged
                                                                under the law. Therefore, you may still be responsible to
    Chapter 13 -- Voluntary repayment plan for
                                                                pay:
                  individuals with regular income
                                                                     most taxes;
You should have an attorney review your                              most student loans;
decision to file for bankruptcy and the choice
of chapter.                                                          domestic support and property settlement obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                             page 1
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    most fines, penalties, forfeitures, and criminal            for your state of residence and family size, depending
    restitution obligations; and                                on the results of the Means Test, the U.S. trustee,
                                                                bankruptcy administrator, or creditors can file a motion to
    certain debts that are not listed in your bankruptcy        dismiss your case under § 707(b) of the Bankruptcy
    papers.                                                     Code. If a motion is filed, the court will decide if your
                                                                case should be dismissed. To avoid dismissal, you may
You may also be required to pay debts arising from:             choose to proceed under another chapter of the
                                                                Bankruptcy Code.
    fraud or theft;
                                                                If you are an individual filing for chapter 7 bankruptcy, the
    fraud or defalcation while acting in breach of fiduciary
                                                                trustee may sell your property to pay your debts, subject
    capacity;
                                                                to your right to exempt the property or a portion of the
                                                                proceeds from the sale of the property. The property,
    intentional injuries that you inflicted; and
                                                                and the proceeds from property that your bankruptcy
    death or personal injury caused by operating a motor        trustee sells or liquidates that you are entitled to, is
    vehicle, vessel, or aircraft while intoxicated from         called exempt property. Exemptions may enable you to
    alcohol or drugs.                                           keep your home, a car, clothing, and household items or
                                                                to receive some of the proceeds if the property is sold.
If your debts are primarily consumer debts, the court can
dismiss your chapter 7 case if it finds that you have           Exemptions are not automatic. To exempt property, you
enough income to repay creditors a certain amount. You          must list it on Schedule C: The Property You Claim as
must file Chapter 7 Statement of Your Current Monthly           Exempt (Official Form 106C). If you do not list the
Income (Official Form 122A-1) if you are an individual filing   property, the trustee may sell it and pay all of the
for bankruptcy under chapter 7. This form will determine        proceeds to your creditors.
your current monthly income and compare whether your
income is more than the median income that applies in
your state.

If your income is not above the median for your state,
                                                                Chapter 11: Reorganization
you will not have to complete the other chapter 7 form,
the Chapter 7 Means Test Calculation (Official Form                  $1,167    filing fee
122A-2).                                                               $550    administrative fee
                                                                +
If your income is above the median for your state, you must          $1,717    total fee
file a second form--the Chapter 7 Means Test Calculation
(Official Form 122A-2). The calculations on the form--          Chapter 11 is often used for reorganizing a business, but
sometimes called the Means Test-- deduct from your              is also available to individuals. The provisions of chapter
income living expenses and payments on certain debts to         11 are too complicated to summarize briefly.
determine any amount available to pay unsecured
creditors. If your income is more than the median income




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        Read These Important Warnings

        Because bankruptcy can have serious long-term financial and legal consequences, including loss of
        your property, you should hire an attorney and carefully consider all of your options before you file.
        Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
        and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
        properly and protect you, your family, your home, and your possessions.

        Although the law allows you to represent yourself in bankruptcy court, you should understand that
        many people find it difficult to represent themselves successfully. The rules are technical, and a
        mistake or inaction may harm you. If you file without an attorney, you are still responsible for
        knowing and following all of the legal requirements.

        You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
        necessary documents.

        Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
        bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
        fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up
        to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                Under chapter 13, you must file with the court a plan to
Chapter 12: Repayment plan for family farmers                   repay your creditors all or part of the money that you owe
            or fishermen                                        them, usually using your future earnings. If the court
                                                                approves your plan, the court will allow you to repay your
                                                                debts, as adjusted by the plan, within 3 years or 5 years,
        $200   filing fee                                       depending on your income and other factors.
+        $75   administrative fee
                                                                After you make all the payments under your plan, many
        $275   total fee
                                                                of your debts are discharged. The debts that are not
                                                                discharged and that you may still be responsible to pay
Similar to chapter 13, chapter 12 permits family farmers
                                                                include:
and fishermen to repay their debts over a period of time
using future earnings and to discharge some debts that
are not paid.                                                        domestic support obligations,
                                                                     most student loans,
                                                                     certain taxes,
Chapter 13: Repayment plan for individuals with
            regular income                                           debts for fraud or theft,
                                                                     debts for fraud or defalcation while acting in a
                                                                     fiduciary capacity,
          $235    filing fee
    +      $75    administrative fee
                                                                     most criminal fines and restitution obligations,
          $310    total fee
                                                                     certain debts that are not listed in your bankruptcy
                                                                     papers,
Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in
                                                                     certain debts for acts that caused death or personal
installments over a period of time and to discharge
                                                                     injury, and
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain
                                                                     certain long-term secured debts.
dollar amounts set forth in 11 U.S.C. § 109.




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                                                                A married couple may file a bankruptcy case together--
  Warning: File Your Forms on Time                              called a joint case. If you file a joint case and each
                                                                spouse lists the same mailing address on the
  Section 521(a)(1) of the Bankruptcy Code requires             bankruptcy petition, the bankruptcy court generally will
  that you promptly file detailed information about             mail you and your spouse one copy of each notice,
  your creditors, assets, liabilities, income, expenses         unless you file a statement with the court asking that
  and general financial condition. The court may                each spouse receive separate copies.
  dismiss your bankruptcy case if you do not file this
  information within the deadlines set by the
  Bankruptcy Code, the Bankruptcy Rules, and local
  rules of the court.                                           Understand which services you could
                                                                receive from credit counseling agencies
  For more information about the documents and
  their deadlines, go to:
                                                                The law generally requires that you receive a credit
  http://www.uscourts.gov/bkforms/bankruptcy_forms              counseling briefing from an approved credit counseling
  .html#procedure.                                              agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                case, both spouses must receive the briefing. With
                                                                limited exceptions, you must receive it within the 180
                                                                days before you file your bankruptcy petition. This
Bankruptcy crimes have serious                                  briefing is usually conducted by telephone or on the
consequences                                                    Internet.

    If you knowingly and fraudulently conceal assets or         In addition, after filing a bankruptcy case, you generally
    make a false oath or statement under penalty of             must complete a financial management instructional
    perjury--either orally or in writing--in connection with    course before you can receive a discharge. If you are
    a bankruptcy case, you may be fined, imprisoned, or         filing a joint case, both spouses must complete the
    both.                                                       course.

                                                                You can obtain the list of agencies approved to provide
    All information you supply in connection with a             both the briefing and the instructional course from:
    bankruptcy case is subject to examination by the
    Attorney General acting through the Office of the           http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html.
    U.S. Trustee, the Office of the U.S. Attorney, and
    other offices and employees of the U.S. Department          In Alabama and North Carolina, go to:
    of Justice.                                                 http://www.uscourts.gov/FederalCourts/Bankruptcy/Bankru
                                                                ptcyResources/ApprovedCreditAndDebtCounselors.aspx.

Make sure the court has your mailing
address                                                         If you do not have access to a computer, the clerk of the
                                                                bankruptcy court may be able to help you obtain the list.
The bankruptcy court sends notices to the mailing address
you list on Voluntary Petition for Individuals Filing for
Bankruptcy (Official Form 101). To ensure you receive
information about your case, Bankruptcy Rule 4002
requires that you notify the court of any changes in your
address.




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                        Adam Barta
                        3200 Labore Rd
                        Ste 102
                        Saint Paul, MN 55113


                        American Equity Bank
                        5900 Green Oak Dr # 100
                        Minnetonka, MN 55343



                        Centennial Utitlities
                        200 Civic Heights Circle
                        Circle Pines, MN 55014



                        Comcast
                        9602 S 300 W Ste B
                        Sandy, UT 84070



                        Dan Fleischhacker
                        103 Osborne Rd NE
                        Fridley, MN 55432



                        Dropbox Inc
                        1800 Owens St
                        San Francisco, CA 94158



                        Fafinski Mark & Johnson PA
                        775 Prairie Center Dr, Ste 400
                        Eden Prairie, MN 55344



                        Go Daddy.com LLC
                        c/o Complete Payment recovery Services,
                        11601 Roosevelt Blvd
                        St. Petersburg, FL 33716


                        Great Lakes Higher Education
                        2401 International Lane
                        Madison WI 53704 3192
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                        Hootsuite
                        5 East 8th Ave
                        Vancouver, Canada, T5T 1R6



                        Huntington National Bank
                        2361 Morse Road
                        Columbus, OH 43229



                        Internal Revenue Service
                        PO Box 7346
                        Philadelphia PA 19101-7346



                        Luire LLP
                        2501 Wayzata Blvd
                        Minneapolis, MN 55405



                        Matt Faulken
                        6770 Timberwolf Tr
                        Minneapolis, MN 55433



                        Meshbesher & Spence
                        1616 Park Ave
                        Minneapolis, MN 55404



                        METRO 94 BUSINESS CENTER, LLC
                        475 Etna St
                        Saint Paul, MN 55106



                        Microsoft
                        PO Box 847124
                        Dallas, TX 75284-7124



                        Minnesota Unemployment Insurance
                        P.O. Box 64653
                        St. Paul, MN 55164
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                        Nelnet Education
                        PO Box 82561
                        Lincoln NE 68501



                        North Risk Partners, LLC
                        622 Roosevelt Rd, Ste 240
                        Saint Cloud, MN 56301



                        PayPal Business Loan c/o Swift Financial
                        Attn: Bankruptcy Notice
                        3505 Silverside Rd
                        Wilmington, DE 19810


                        QuickBooks - Intuit
                        2700 Coast Ave
                        Mountain View, CA 94043



                        Sentry Real Estate Inc.
                        479 Apollo Dr, Ste 50
                        Lino Lakes, MN 55014



                        Shopify
                        150 Elgin St
                        Ottawa ON, K2P 1L4



                        Shoreview Area Youth Baseball Inc (SAYB)
                        Attn Erik Drange
                        505 Harbor Ct
                        Shoreview, MN 55126


                        Sirius Satellite Radio
                        PO Box 33174
                        Detroit, MI 48232



                        Spencer Fane LLP
                        PO Box 872037
                        Kansas City, MO 64187-2037
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                        Tony Kriegler
                        1262 Englewood Ave
                        St. Paul, MN 55104



                        Tyler Lewnau
                        14357 Partridge St NW
                        Andover, MN 55304



                        Upper Hand
                        129 E Market St
                        Indianapolis, IN 46204



                        Walker & Walker Law Offices, PLLC
                        4356 Nicollet Ave So
                        Minneapolis, MN 55409



                        Wells Fargo Card Services
                        PO Box 10347
                        Des Moines IA 50306 0347



                        West Bend Mutual Insurance Comp
                        1900 South 18th Avenue
                        West Bend WI 53095



                        Wix
                        500 Terry A Francois Blvd
                        San Francisco, CA 94158



                        Xcel Energy
                        Attn: Correspondence Team
                        PO box 8
                        Eau Claire WI 54702
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 Fill in this information to identify your case:
 Debtor 1             Cody                    James               Beam
                      First Name              Middle Name         Last Name

 Debtor 2
 (Spouse, if filing) First Name               Middle Name         Last Name


 United States Bankruptcy Court for the: DISTRICT OF MINNESOTA

 Case number
 (if known)
                                                                                                        Check if this is an amended filing


Official Form 122A-1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                           12/15

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe
that you are exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are
filing together, and any of the exclusions in this statement applies to only one of you, the other person should complete a
separate Form 122A-1 if you believe that this is required by 11 U.S.C. § 707(b)(2)(C).

 Part 1:        Identify the Kind of Debts You Have
1.   Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a
     personal, family or household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary
     Petition for Individuals Filing for Bankruptcy (Official Form 101).

          No.    Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then
                 submit this supplement with the signed Form 122A-1.

          Yes. Go to Part 2.

 Part 2:        Determine Whether Military Service Provisions Apply to You
2.   Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
          No.    Go to line 3.
          Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
               10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                       No.    Go to line 3.
                       Yes. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3.
                            Then submit this supplement with the signed Form 122A-1.
3.   Are you or have you been a Reservist or member of the National Guard?
          No.    Complete Form 122A-1. Do not submit this supplement.
          Yes. Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1)
                No.    Complete Form 122A-1. Do not submit this supplement.
                Yes. Check any one of the following categories that applies:

                      I was called to active duty after September 11, 2001,           If you checked one of the categories to the left, go to
                      for at least 90 days and remain on active duty.                 Form 122A-1. On the top of page 1 of Form 122A-1, check
                      I was called to active duty after September 11, 2001,           box 3, The Means Test does not apply now and sign
                      for at least 90 days and was released from active duty on       Part 3. Then submit this supplement with the signed Form
                                            which is fewer than 540 days before I     122A-1. You are not required to fill out the rest of Official
                      file this bankruptcy case.                                      Form 122A-1 during the exclusion period. The exclusion
                                                                                      period means the time you are on active duty or are
                      I am performing a homeland defense activity for at              performing a homeland defense activity, and for 540 days
                      least 90 days.                                                  afterward. 11 U.S.C. § 707(b)(2)(D)(ii).
                      I performed a homeland defense activity for at
                      least 90 days, ending on                        , which is      If your exclusion period ends before your case is closed,
                      fewer than 540 days before I file this bankruptcy case.         you may have to file an amended form later.




Official Form 122A-1Supp              Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                     page 1
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 Fill in this information to identify your case:                                             Check one box only as directed in this
                                                                                             form and in Form 122A-1Supp:
 Debtor 1           Cody                 James                 Beam
                    First Name           Middle Name           Last Name                       1. There is no presumption of abuse.

 Debtor 2                                                                                      2. The calculation to determine if a presumption
 (Spouse, if filing) First Name          Middle Name           Last Name                          of abuse applies will be made under Chapter 7
                                                                                                  Means Test Calculation (Official Form 122A-2).
 United States Bankruptcy Court for the: DISTRICT OF MINNESOTA
                                                                                               3. The Means Test does not apply now because
 Case number                                                                                      of qualified military service but it could apply
 (if known)                                                                                       later.

                                                                                                 Check if this is an amended filing

Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                            12/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On the top of any additional pages, write your name and case number (if known). If you believe that you
are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form
122A-1Supp) with this form.


 Part 1:       Calculate Your Current Monthly Income

1.   What is your marital and filing status? Check one only.

          Not married. Fill out Column A, lines 2-11.

          Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

          Married and your spouse is NOT filing with you. You and your spouse are:

               Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

               Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you
               declare under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you
               and your spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).


     Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
     bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
     August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill
     in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
     income from that property in one column only. If you have nothing to report for any line, write $0 in the space.


                                                                                            Column A        Column B
                                                                                            Debtor 1        Debtor 2 or
                                                                                                            non-filing spouse

2.   Your gross wages, salary, tips, bonuses, overtime, and commissions
     (before all payroll deductions).

3.   Alimony and maintenance payments. Do not include payments from a spouse
     if Column B is filled in.

4.   All amounts from any source which are regularly paid for household
     expenses of you or your dependents, including child support. Include
     regular contributions from an unmarried partner, members of your household,
     your dependents, parents, and roommates. Include regular contributions from
     a spouse only if Column B is not filled in. Do not include payments you listed
     on line 3.




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Debtor 1        Cody James Beam                                                                                                     Case number (if known)

                                                                                                                                         Column A     Column B
                                                                                                                                         Debtor 1     Debtor 2 or
                                                                                                                                                      non-filing spouse

5.   Net income from operating a business, profession, or farm

                                                              Debtor 1                       Debtor 2

     Gross receipts (before all
     deductions)

     Ordinary and necessary operating                     –                              –
     expenses
                                                                                                                       Copy
     Net monthly income from a business,                                                                               here
     profession, or farm

6.   Net income from rental and other real property

                                                              Debtor 1                       Debtor 2

     Gross receipts (before all
     deductions)

     Ordinary and necessary operating                     –                              –
     expenses
                                                                                                                       Copy
     Net monthly income from rental or                                                                                 here
     other real property

7.   Interest, dividends, and royalties

8.   Unemployment compensation

     Do not enter the amount if you contend that the amount received was a
     benefit under the Social Security Act. Instead, list it here: ...............................................


         For you............................................................................................................................

         For your spouse..............................................................................................................

9.   Pension or retirement income. Do not include any amount received that
     was a benefit under the Social Security Act. Also, except as stated in the
     next sentence, do not include any compensation, pension, pay, annuity, or
     allowance paid by the United States Government in connection with a
     disability, combat-related injury or disability, or death of a member of the
     uniformed services. If you received any retired pay paid under chapter 61
     of title 10, then include that pay only to extent that it does not exceed the
     amount of retired pay to which you would otherwise be entitled if retired
     under any provision of title 10 other than chapter 61 of that title.

10. Income from all other sources not listed above. Specify the source and
    amount. Do not include any benefits received under the Social Security Act;
    payments received as a victim of a war crime, a crime against humanity, or
    international or domestic terrorism; or compensation, pension, pay, annuity,
    or allowance paid by the United States Government in connection with a
    disability, combat-related injury or disability, or death of a member of the
    uniformed services. If necessary, list other sources on a separate page
    and put the total below.




     Total amounts from separate pages, if any.                                                                                   +                  +

Official Form 122A-1                                             Chapter 7 Statement of Your Current Monthly Income                                                         page 2
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Debtor 1       Cody James Beam                                                                                     Case number (if known)

                                                                                                                       Column A               Column B
                                                                                                                       Debtor 1               Debtor 2 or
                                                                                                                                              non-filing spouse

11. Calculate your total current monthly income.
    Add lines 2 through 10 for each column.                                                                                                +                          =
    Then add the total for Column A to the total for Column B.
                                                                                                                                                                         Total current
                                                                                                                                                                         monthly income

 Part 2:         Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year. Follow these steps:

    12a.    Copy your total current monthly income from line 11....................................................................................................................
                                                                                                                       Copy line 11 here                       12a.

            Multiply by 12 (the number of months in a year).                                                                                                               X          12

    12b.    The result is your annual income for this part of the form.                                                                                           12b.


13. Calculate the median family income that applies to you. Follow these steps:

    Fill in the state in which you live.

    Fill in the number of people in your household.


    Fill in the median family income for your state and size of household......................................................................................................................
                                                                                                                                                          13.
    To find a list of applicable median income amounts, go online using the link specified in the separate
    instructions for this form. This list may also be available at the bankruptcy clerk's office.


14. How do the lines compare?

    14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                   Go to Part 3. Do NOT fill out or file Official Form 122A-2.
    14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                   Go to Part 3 and fill out Form 122A-2.


 Part 3:         Sign Below

      By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


      X    /s/ Cody James Beam                                                                       X
           Cody James Beam, Debtor 1                                                                      Signature of Debtor 2

           Date 3/27/2020                                                                                 Date
                MM / DD / YYYY                                                                                     MM / DD / YYYY

      If you checked line 14a, do NOT fill out or file Form 122A-2.

      If you checked line 14b, fill out Form 122A-2 and file it with this form.




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Local Form 1007-1
REVISED 06/16




                                      UNITED STATES BANKRUPTCY COURT
                                           DISTRICT OF MINNESOTA

In re
Cody James Beam
                                                                                        Case No.

                    Debtor(s).


                     DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.      Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for
the above-named debtor(s) and that compensation paid to me within one year before the filing of the
petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf
of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

For legal services, I have agreed to accept: . . . . . . . . . . . . . . . . . . . . . $2,965.00

Prior to the filing of this statement I have received: . . . . . . . . . . . . . . . . $15.00

Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $2,950.00

2.         The source of the compensation paid to me was:


                    Debtor                   Other (specify)

3.         The source of compensation to be paid to me is:


                    Debtor                   Other (specify)
                                             Patrice Beam
                                             10670 Hollywood Blvd NW
                                             Coon Rapids, MN 55433

4.
                    I have not agreed to share the above-disclosed compensation with any other person unless
                     they are members and associates of my law firm.


                    I have agreed to share the above-disclosed compensation with another person or persons
                    who are not members or associates of my law firm. A copy of the agreement, together
                    with a list of the names of the people or entities sharing in the compensation, is
                    attached.




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5.        In return for the above-disclosed fee, together with such further fee, if any, as is provided
          in the written contract required by 11 U.S.C. §528(a)(1), I have agreed to render legal
          service for all aspects of the bankruptcy case, including:

          A.        Analysis of the debtor’s financial situation, and rendering advice to the debtor in
                    determining whether to file a petition in bankruptcy;

          B.        Preparation and filing of any petition, schedules, statements of affairs and plan which
                    may be required;

          C.        Representation of the debtor at the meeting of creditors and confirmation hearing, and
                    any adjourned hearings thereof;

          D.        Representation of the debtor in contested bankruptcy matters; and

          E.        Other services reasonably necessary to represent the debtor(s).


6.      Pursuant to Local Rules 1007-1 and 1007-3-1, I have advised the debtor of the requirements
in the Statement of Financial Affairs to disclose all payments made, or property transferred, by or on
behalf of the debtor to any person, including attorneys, for consultation concerning debt consolidation
or reorganization, relief under bankruptcy law, or preparation of a petition in bankruptcy. I have
reviewed the debtor's disclosures and they are accurate and complete to the best of my knowledge.


                                                CERTIFICATION

       I certify that the foregoing, together with the written contract required by 11 U.S.C.
§528(a)(1), is a complete statement of any agreement or arrangement for payment to me for
representation of the debtor(s) in this bankruptcy case.

Date: March 27, 2020                                                    Signature of Attorney

                                                                        /s/ Andrew C. Walker




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